         Case 4:14-cr-00191-BSM Document 109 Filed 09/29/14 Page 1 of 1
                                                                                    FILED
                                                                                   U.S. DlSTRICT COURT
                                                                              EAS'TERN DISTRICT ARKANSAS

                      IN THE UNITED STATES DISTRICT COURT     SEP 2 9 2014
                          EASTERN DISTRICT OF ARKANSAS             ~
                                WESTERN DIVISION       JAMES W. McCuRMACK, CLERK
                                                                       .By:    s. Y.,.) J 1ck'0c:::
                                                                                               DEP CleRlt
UNITED STATES OF AMERICA                         *
                                                 *
                      Plaintiff,                 *
v.                                               *
                                                 *             No. 4:14CR00191-01-JLH
JEFFREY WEAVER                                   *
                                                 *
                      Defendant.                 *
                                             ORDER

       Counsel for Defendant Weaver have filed a Motion for Continuance of the Detention Hearing

and Motion to Withdraw as Counsel (Doc. No. 66). This Motion is GRANTED. Assistant Public

Defender Kim Driggers is appointed to represent Defendant Weaver in all further proceedings, and

Ralph Blagg and Nicki Nicolo are withdrawn as counsel in this matter.

       The detention hearing scheduled for September 30, 2014, at 9:00a.m. is continued until

further notice. Defendant Weaver reserves the right to request a detention hearing in the future

should he so choose. While detained, the Defendant must be afforded a reasonable opportunity to

consult privately with defense counsel. Further, on order of the United States Court or on request of

an attorney for the Government, the person in charge ofthe corrections facility must deliver the

Defendant to the United States Marshal for a court appearance.

       IT IS SO ORDERED this 29th day of September 2014.




                                                                              AGISTRATE JUDGE
